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   1                           UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NEW YORK
   2

   3    ---------------------------------X
                                         :
   4    UNITED STATES OF AMERICA,        :
                                         :        11-CR-00030
   5                                     :
                                         :
   6             v.                      :
                                         :        225 Cadman Plaza East
   7    REYNOLD MARAGNI,                 :        Brooklyn, New York
          also known as “Ren” also       :
   8      known as “Reynolds”            :        February 4, 2011
                                         :
   9                  Defendant.         :
        ---------------------------------X
  10
               TRANSCRIPT OF CRIMINAL CAUSE FOR DETENTION HEARING
  11                     BEFORE THE HONORABLE LOIS BLOOM
                          UNITED STATES MAGISTRATE JUDGE
  12

  13    APPEARANCES:

  14    For the Government:            ELIZABETH GEDDES, ESQ.
                                       ALLON LIFSHITZ, ESQ.
  15                                   United States Attorney’s Office
                                       271 Cadman Plaza East
  16                                   Brooklyn, New York 11201

  17    For Defendant:                 JAMES R. FROCCARO, ESQ.
                                       20 Vanderventer Avenue
  18                                   Suite 103W
                                       Port Washington, New York       11050
  19

  20
        Court Transcriber:             RUTH ANN HAGER
  21                                   TypeWrite Word Processing Service
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  22                                   Saratoga Springs, New York 12866

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        Proceedings recorded by electronic sound recording, transcript
        produced by transcription service
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    1   (Proceedings began at 12:55 p.m.)

    2              COURT CLERK:     -- Case number 11-CR-00030, United

    3   States v. Reynold Maragni.

    4              Counsel, please state your names for the record.

    5              MS. GEDDES:     Elizabeth Geddes for the Government.

    6   Good afternoon, Your Honor, and Allon Lifshitz as well.

    7              THE COURT:     Good afternoon.

    8              MR. FROCCARO:     Good afternoon, Your Honor.       James

    9   Froccaro for Mr. Maragni.

   10              THE COURT:     Good afternoon and good afternoon, Mr.

   11   Maragni.   This is on for your bail application.         I have

   12   received submissions from both the Government and your

   13   attorney but this is your application, Mr. Froccaro.

   14              MR. FROCCARO:     Judge, I know you’ve read the papers

   15   so I’ll be brief.     The bond that I’ve offered is a very

   16   substantial bond.     It’s also a very restricted bond.        It’s a

   17   two million-dollar appearance bond secured by over a million

   18   dollars in equity in the real property of his loved ones.

   19   Judge, in terms of the restricted terms I’d ask that he be

   20   released on house arrest with electronic monitoring.

   21              In terms of the Government’s case, Your Honor, I

   22   know I’ve put it in my letter, but briefly Mr. Maragni is not

   23   alleged to have engaged in any act of physical violence nor is

   24   he alleged to have -- any person at his behest to have engaged

   25   in physical violence and I think that separates him from a lot
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    1   of the others in the detention memo.        For those reasons, Your

    2   Honor, I respectfully submit that he should be released on the

    3   conditions that I proposed.

    4               THE COURT:    And Ms. Geddes?

    5               MS. GEDDES:    The Government opposes the defendant’s

    6   release on any bond in this case.        The defendant is a captain

    7   in the Colombo crime family and in light of his position in

    8   the family, a violent criminal enterprise, he’s not required

    9   to personally engage in any violence.        He has individuals to

   10   do that on his behalf.

   11               He was captured on numerous consensual recordings

   12   meeting with cooperating witnesses discussing acts of

   13   violence.    On one occasion he approved a soldier in the

   14   DeCavalcante family who requested a cooperating witness to

   15   assist him in collecting a debt in a different state.           On a

   16   more recent occasion this past December the defendant was

   17   captured on a recording that provided a brief transcript to

   18   defense counsel and I mentioned this in the detention

   19   memorandum and I have another transcript of a more recent

   20   conversation as well that I can provide to Your Honor on this

   21   particular recording which was captured December 1st.

   22               I should note that the defendant resides in Florida

   23   but travels approximately every three to four weeks up to New

   24   York and maintains Colombo family business in both New York

   25   and in Florida.     On one recent trip to New York in December
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                                                                                4

    1   the defendant was captured asking the cooperating witness to

    2   go and grab the boyfriend of a relative of the Colombo family

    3   under “Boss.”    He -- the defendant directed the cooperator

    4   that he didn’t want him to hurt him, this individual who he

    5   was requesting that the cooperator grab, but he wanted him to

    6   scare him and then indicates that he wants him to tell him

    7   that if this individual ever laid his hands on this relative

    8   again he was going to come back and “We’re going to cripple

    9   you.   We’re not going to kill you because we’re going to make

   10   you live through it.”      He then later says, “We’re going to

   11   roll him out like a paraplegic” and I’ve omitted his colorful

   12   language in that.

   13              In that same conversation he brought up another

   14   incident in which he had previously asked the cooperating

   15   witness to collect -- to assist him in collecting a debt owed

   16   by a surveyor or a landscaper, an individual he described as a

   17   surveyor or a landscaper.      Excuse me.    In that particular

   18   recording he provided some information about where that

   19   individual would be.      This is a completely separate incident

   20   during the same conversation where they discussed this but it

   21   was a separate individual that he was referring to.           In that

   22   incident he advised the cooperating witness where this

   23   particular individual, this landscaper or surveyor who owed

   24   him money would be located and tells him, “When you see this

   25   kid I want you to take him off the streets.          Take him off the
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                                                                                5

    1   streets.   Tell him if you’re ever late for one of his payments

    2   again -- threaten him essentially if you’re ever late for one

    3   of his payments again.”      And then Maragni says, “I want him

    4   stabbed.   Take him off with a couple of kicks to his belly.           A

    5   little wake-up call” and he later says, “I want you to horrify

    6   him.   Horrify him.    Next time you’re going in the trunk.

    7   Don’t ever be late with these payments again.”          These are

    8   instructions that the defendant is providing to a cooperating

    9   witness to go and convey to another individual.

   10              This recording was as recent as December.          This was,

   11   I believe, the second to last trip that the defendant has made

   12   to New York and it’s just one example of violence advocated by

   13   the defendant in his capacity as a captain of a crime family.

   14   He maintains extensive operations in both Florida and, as I

   15   stated, New York.     He has been captured on recordings meeting

   16   with other captains in the Colombo family as well as attending

   17   captain’s meetings with the hierarchy in the Colombo family

   18   administration up here in New York.

   19              In light of that, the defendant’s -- in addition to

   20   that, the defendant has ties to Canada.         He’s engaged in a

   21   scheme to import marijuana from Canada and I raise this simply

   22   because the defendant has ties to Canada and other countries,

   23   also traveled recently with members of his crew to Aruba out

   24   of the country.     By “his crew” I’m referring to the Colombo

   25   family crew that he has.      He also on another recording was
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                                                                                  6

    1   captured discussing business that he has in other states in

    2   the United States which he vocalized would be “good” for the

    3   Colombo family.     He mentioned that he had meetings scheduled

    4   in New Orleans as well as Chicago and also had plans to engage

    5   in activities in Detroit and Milwaukee and I believe there’s

    6   another city as well.

    7                I raise this only to state that the defendant’s

    8   criminal activity is widespread over the United States.            It’s

    9   most specifically or most prominently in Florida and New York,

   10   but he has numerous activities going on.         And in light of his

   11   position in the Colombo family, the direction that he’s

   12   provided to cooperating witnesses, his access to other Colombo

   13   family associates and La Costa Nostra associates and the

   14   members, the defendant poses a significant danger to the

   15   community.

   16                MR. FROCCARO:   Judge, can I just briefly respond?

   17                THE COURT:   Of course you can.

   18                MR. FROCCARO:   Regarding --

   19                THE COURT:   And I just -- but I also want to say

   20   thank you for not trying to interrupt and I know that it’s

   21   difficult to listen when there are things being said and that

   22   your client may have wanted you to interrupt, but he is doing

   23   his job by letting her speak and I will now, of course, let

   24   you speak.

   25                MR. FROCCARO:   Thank you, Judge.     Just briefly.     I’m
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    1   seeing this excerpt for the first time, a complete excerpt,

    2   but it’s exactly as I represented to Your Honor that he has no

    3   alleged to have engaged in any act of physical violence and no

    4   person is alleged to have engaged in any act of physical

    5   violence.    Also have -- this doesn’t change that.

    6               In reviewing it, Judge, she didn’t read the whole

    7   statement that they alleged Mr. Maragni made.          Obviously I

    8   don’t have access to the tapes to make my own independent

    9   interpretation.     These transcripts are sometimes wrong, but it

   10   says, “I don’t want you to hurt.        I don’t want you to do

   11   nothing to him but I want to scare him,” which is exactly what

   12   I told Your Honor.     No acts of physical violence.

   13               With respect to the flight risk, Your Honor, he has

   14   a passport.    It’s being sent up by his estranged wife to my

   15   office.    I’ll surrender it.     The package that I proposed to

   16   Your Honor I know you know is substantial.         He’s not about to

   17   leave the country or flee based on the substantial package

   18   offered.    All his loved ones are [unintelligible] homes.          I

   19   respectfully submit, Judge, to comply with each and every term

   20   of the bond that Your Honor imposes if you’re inclined to do

   21   so.

   22               THE COURT:    His children aren’t signing on the bond?

   23               THE DEFENDANT:    No, my children aren’t signing the

   24   bond.

   25               THE COURT:    Why not?
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                                                                                   8

    1                THE DEFENDANT:    Well, my daughter owns a home that’s

    2   being sold, but if you need their personal signatures I’m sure

    3   they will sign.

    4                THE COURT:   Well, this is my problem --

    5                THE DEFENDANT:    But I’ve got lots --

    6                THE COURT:   Let me tell you what my problem is.         My

    7   problem is you know that Florida is one of those states that

    8   is a difficult issue for property because of the homestead

    9   provision and so it’s not as good even though he’s got --

   10                MR. FROCCARO:    Well, we put a mortgage, Judge.

   11   That’s the way we solve it so it does correct it.           The

   12   mortgage is good.     The judgment I know won’t work.        And if

   13   Your Honor wants the children I’m sure I -- the only reason I

   14   didn’t volunteer them --

   15                THE COURT:   And I don’t know anything about Las

   16   Vegas.   I mean, we’re --

   17                MR. FROCCARO:    -- is because they were going to sell

   18   the house.

   19                THE COURT:   -- talking about properties in Las

   20   Vegas.   We have one in New York with an equity of near 250.

   21                MR. FROCCARO:    Judge, I have some experience in Las

   22   Vegas.   It’s not a problem, Judge.       I’ve had two cases there

   23   in Las Vegas.

   24                THE COURT:   And they don’t have the same homestead

   25   provision?
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    1              MR. FROCCARO:     There is, but there’s a way around

    2   with a mortgage.     That’s my understanding.

    3              THE COURT:     And you said your daughter is selling

    4   her home but it says you have three children.

    5              THE DEFENDANT:     Yes, I have my 22-year-old son

    6   Christopher lives in California.        He recently graduated

    7   Florida State University.      He moved out there and my son

    8   [inaudible] home [inaudible].

    9              MR. FROCCARO:     His son that just graduated from

   10   college doesn’t --

   11              THE DEFENDANT:     He’s working.

   12              MR. FROCCARO:     But if you want them on the bond,

   13   Your Honor, of course, they’ll sign.

   14              THE COURT:     Well, you know, I’m always on the fence

   15   here because, again, one of the things that I think ensures

   16   people living up to their obligations is that the people that

   17   mean most to them are signing onto the bond.

   18              MR. FROCCARO:     Yes.

   19              THE COURT:     Your client has to be in one place.

   20              MR. FROCCARO:     Judge, he’s going to be staying --

   21   Your Honor, he’s estranged from his wife.         They’re separated.

   22   In Brooklyn with his girlfriend who’s in court here today.            I

   23   say “Brooklyn.”     Staten Island, Judge.      Excuse me.

   24              THE COURT:     Because I don’t want this back and forth

   25   between Florida but that is where he’s employed.          What’s the
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                                                                               10

     1   deal with Premiere Foods in south Florida?

     2              MR. FROCCARO:     Judge, he has an apartment there.

     3   He’ll be running the business in his absence.

     4              THE COURT:    So we don’t need anything on that.

     5              MR. FROCCARO:     I don’t need for him to travel to

     6   Florida, Judge.    Unless it’s an emergency I’ll make an

     7   application to the Court if that’s necessary.

     8              MS. GEDDES:    Your Honor, if I could just add one --

     9   two additional comments.      One, with respect to Mr. Froccaro’s

    10   representation which is correct that the defendant did not

    11   personally engage in violence and that the violence advocated

    12   by the defendant did not occur, the reason that this

    13   particular violence did not occur was because the individual

    14   whom he tasked to do this was a cooperating witness.

    15              THE COURT:    I -- look, I am not underestimating the

    16   strength of the Government’s case nor am I underestimating

    17   that there are wiretaps that neither myself or Mr. Froccaro

    18   have heard at this point that may implicate him.          I’m only

    19   going on what you presented here today.        I’m not saying that I

    20   absolutely buy the innocent explanation that Mr. Froccaro has

    21   put on the record, but what I’m looking at is his last

    22   conviction was in Florida.      I’m looking at the last time that

    23   he was returned on a warrant was when he was 24 years old in

    24   1976.

    25              Again, I don’t underestimate the seriousness of your
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                                                                               11

     1   allegations that as a captain in the Colombo crime family he

     2   does not need to personally do the bidding himself, but all of

     3   the same concerns that I had in the last case -- here he

     4   doesn’t have an autistic son and I’m glad that he doesn’t --

     5   but I believe a two or two and a half-million-dollar package

     6   with the children signing onto the bond.        So as much as I hate

     7   for a 22-year-old who’s just starting his life to be on a bond

     8   so that if his father does wrong his life goes down the tubes,

     9   too, but I think that, again, since it can’t be your mother

    10   and it can’t be your wife, your children are, I imagine, the

    11   closest thing that we have to that you’re going to stay where

    12   you’re supposed to be and do what you’re supposed to do.

    13              Yes, Ms. Geddes.

    14              MS. GEDDES:    Your Honor, just one additional note

    15   for the Court.    The defendant was captured on various

    16   recordings discussing a scheme -- an alleged scheme to bribe

    17   an individual in order to obtain a commutation of a state

    18   inmate’s sentence.     I raise this because it’s part of the

    19   Government’s investigation.      The Government through a

    20   cooperating witness provided the defendant with a suitcase

    21   filled with $25,000.00 in cash.       The following day or a few

    22   days later the Government requested that money back again

    23   through a cooperating witness and the individ -- and the

    24   defendant returned that money.

    25              However, the money that he returned was different
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                                                                                12

     1   from the cash that the Government had provided to the

     2   defendant just a few days earlier.       I say this only because it

     3   shows that the defendant has access to a substantial amount of

     4   cash and the Government believes that there -- that at this

     5   point the Government has no understanding of the full amount

     6   of cash at the defendant’s disposal which he would use to

     7   reimburse any individual to sign onto a bond no matter how

     8   extensive it is.

     9              THE COURT:    But that concern if I’m hearing

    10   correctly, and I do believe I am, goes to risk of flight

    11   because money is fungible, which is why I was saying that

    12   having people on the bond who are closer to his heart.           You

    13   know, I always like to have a grandmother’s apartment or

    14   premises because nobody -- you go straight to hell if you, you

    15   know, give up your grandmother’s apartment.         But I think at

    16   this point in time the closest thing that we have is his three

    17   children signing onto the bond, that the house that his

    18   daughter lives in is currently under sale.         We can’t get the

    19   papers on that house.

    20              And I will up the ante here -- I don’t think it

    21   matters that much and make it a two and a half million-dollar

    22   bond -- and have the same people sign on including the

    23   properties that are here that Mr. Froccaro has represented to

    24   the Court that there’s no problem getting a mortgage on the

    25   Florida premises and that he knows what to do to get the Las
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                                                                               13

     1   Vegas premises listed.

     2               And he’s going to be on electronic monitoring, he’s

     3   going to pay the cost of electronic monitoring.          He’s not

     4   going to be out of the house except for court prearranged

     5   visits to a doctor, prearranged visits to his lawyer, and if

     6   there’s a medical emergency I am telling you you have to call

     7   9-1-1.    You can’t just say it’s a medical emergency.         You have

     8   to call EMS.    And that you will reside, I take it, at 121

     9   Third Street, Staten Island, New York.        Is that correct?

    10               THE DEFENDANT:    Yes.

    11               THE COURT:   And there’s a land line there so that we

    12   could have the electronic monitoring and there will also be

    13   phone monitoring.     And I want this to be discussed with the

    14   girlfriend so that she understands Mr. Maragni is not

    15   permitted to use other phones.       The Government is going to

    16   know the phones and that there’s going to be monitoring of all

    17   phones.

    18               MR. FROCCARO:    I’ve discussed that with him already,

    19   Your Honor.

    20               THE COURT:   Okay.   So that’s going to be part of the

    21   order as well.    And who do we have in court today that needs

    22   to sign?    Oh, and this is likewise also going to go up to the

    23   Judge.    I can’t overrule Judge Townes if Judge Townes believes

    24   this is inadequate in any way.       It’s a two and a half million-

    25   dollar bond secured by the properties with electronic
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                                                                               14

     1   monitoring and home detention.       So who do we have in court?

     2              MR. FROCCARO:     Judge, we have Angelo Louis

     3   Vitagliano [Ph.], Karen Irso [Ph.], and that’s it for today,

     4   Your Honor.

     5              THE COURT:    Okay.   And these are people that own the

     6   properties or no?

     7              MR. FROCCARO:     Yes, Your Honor.

     8              THE COURT:    Okay.   If they could come forward and

     9   give their names.     And, Mr. Froccaro, if you could work

    10   afterwards because I know that if Judge Townes is going to

    11   approve this she wants everybody to be signed on before she

    12   sees them --

    13              MR. FROCCARO:     Yes, Judge.

    14              THE COURT:    -- before she makes her decision.

    15              MR. FROCCARO:     I’ll set it up with the people who

    16   are out of the jurisdiction for them to sign that bond.

    17              THE COURT:    Very good.    And the three kids.      Mr.

    18   Froccaro, the three kids.      The three kids.

    19              MR. FROCCARO:     The three children as well, Your

    20   Honor.

    21              THE COURT:    Yes, because they -- one is in

    22   California; two are here.

    23              MR. FROCCARO:     Yes, Your Honor.

    24              THE COURT:    Okay.

    25                              SURETERS, Sworn
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                                                                               15

     1              MS. GEDDES:    Your Honor, I apologize for

     2   interrupting.    The defendant’s girlfriend is also present in

     3   court today.

     4              THE COURT:    I want her on the bond, too.       Thank you.

     5   Your name and I’m going to have you sworn, too.

     6              MS. JULIANO:    Kim Juliano [Ph.].

     7                            KIM JULIANO, Sworn.

     8              THE COURT:    Your name?

     9              MS. JULIANO:    Kim Juliano.

    10              THE COURT:    Thank you.    Ms. Irso, Ms. Juliano, and

    11   Mr. and Mrs. Vitagliano, I’m sorry for the circumstances that

    12   bring you to the courthouse today.       As you understand your --

    13   I don’t know how he’s related to everybody else except you, so

    14   I’ll say your boyfriend -- Mr. Maragni, is charged with

    15   serious federal crimes and the Government is arguing that he

    16   should be held in jail pending his trial on these charges.

    17   And his attorney has made an argument to the Court and I’ve

    18   set a two and a half-million-dollar bond.         You heard that

    19   there are going to be other people signing on this bond,

    20   people in Florida, people in Las Vegas, the three children

    21   that Mr. Maragni has, but by coming before the Court today and

    22   signing you are binding yourselves.        If for any reason Mr.

    23   Maragni does not come back to court when he is directed to do

    24   so, all of you will be financially ruined.         There will be a

    25   two and a half-million-dollar judgment entered against all of
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                                                                                16

     1   you by the United States.      They will be able to go after your

     2   bank accounts.    They will be able to seize your property.

     3   They will be able to garnish any wages that you earn.           They

     4   will be able to intercept any tax refunds that you may be

     5   expecting.

     6                May I ask, Ms. Irsa, how do you know Mr. Maragni?

     7                MS. IRSA:    I met Mr. Maragni through a boyfriend who

     8   I was with and is now deceased.

     9                THE COURT:    I’m sorry to hear that.    And how long

    10   ago was that?

    11                MS. IRSA:    Thirteen, 14 years ago.

    12                THE COURT:    And what do you do for a living, Ms.

    13   Irso?

    14                MS. IRSO:    I have an expedited business.

    15                THE COURT:    And what does that mean?

    16                MS. IRSO:    I go to the bills department

    17   [unintelligible].

    18                THE COURT:    And where is that business?

    19                MS. IRSO:    I do all five boroughs.

    20                THE COURT:    Is this your own personal business?

    21   What’s the name of the business?

    22                MS. IRSO:    BIP Expedite.

    23                THE COURT:    And how long have you had the business?

    24                MS. IRSO:    Going on 16 years now.

    25                THE COURT:    Good for you.   And I’m sorry to ask, but
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                                                                               17

     1   how much did you earn approximately last year?

     2              MS. IRSO:    Last year was a bitch [ph.], yeah.        About

     3   55,000, 60,000.

     4              THE COURT:    That’s what you personally earned on

     5   your income tax?

     6              MS. IRSO:    Yeah.

     7              THE COURT:    Thank you.    And do you own a home?

     8              MS. IRSO:    Yes.

     9              THE COURT:    And is that being posted as part of this

    10   bond?   And where is that home?

    11              MS. IRSO:    Staten Island.

    12              THE COURT:    And it --

    13              MS. IRSO:    At 20 Edgewood Road.

    14              THE COURT:    And is it a single-family home?

    15              MS. IRSO:    20 Edgewood Road.     Yes, it’s a single-

    16   family home.

    17              THE COURT:    And how long have you lived there?

    18              MS. IRSO:    Eight years.

    19              THE COURT:    And you understand that the papers for

    20   that home are going to be filed with the county -- you, of

    21   course, understand that with the business that you have.

    22              MS. IRSO:    Yes.

    23              THE COURT:    And that if for any reason he does not

    24   do what he is supposed to do if he violates the terms and

    25   conditions, even though you thought he would, you believed
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                                                                               18

     1   that he would, they’re going to come after your home.           You

     2   understand that?

     3              MS. IRSO:    Yes.

     4              THE COURT:     And, Ms. Julia?

     5              MS. JULIANO:     Juliano.

     6              THE COURT:     Juliano.   Do you work outside the home?

     7              MS. JULIANO:     Yes, I do.

     8              THE COURT:     What do you do for a living?

     9              MS. JULIANO:     I’m a licensed aesthetician.

    10              THE COURT:     And do you work at a spa?

    11              MS. JULIANO:    I work at Macy’s.

    12              THE COURT:    You work at --

    13              MS. JULIANO:    I do makeup and facials.

    14              THE COURT:    And do you work for a particular brand

    15   line?

    16              MS. JULIANO:    Laura Mercier and Sue Devitt.

    17              THE COURT:    And how long have you worked for them?

    18              MS. JULIANO:    About a year and a half.

    19              THE COURT:    And may I ask what did you make

    20   approximately last year?

    21              MS. JULIANO:    Probably roughly about 40 -- 35,

    22   40,000.

    23              THE COURT:    And you understand that Mr. Maragni is

    24   going to be released to live in your home.

    25              MS. JULIANO:    Yes.
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     1              THE COURT:    And that there’s going to be electronic

     2   monitoring.

     3              MS. JULIANO:    Yes.

     4              THE COURT:    And that he’s going to be subject to

     5   random home visits of the Pretrial Services officers and that

     6   they’re going to be allowed to confirm that he is living there

     7   and that they’re going to electronically monitor his movements

     8   so he is going to be your worst nightmare.         No going out to

     9   dinner, no picking up food, no taking out the garbage, no pick

    10   up milk on your way home.      Do you understand all of that?

    11              MS. JULIANO:    Yes.

    12              THE COURT:    And do you also understand that all the

    13   telephone service in that house is going to be monitored?

    14              MS. JULIANO:    Yes.

    15              THE COURT:    And so anybody coming in and leaving can

    16   expect that they’re going to be monitored?

    17              MS. JULIANO:    Yes.

    18              THE COURT:    So people aren’t going to be able to

    19   bring in cell phones that supposedly the Government won’t know

    20   about.   He’s going to be under a microscope, which means

    21   you’re going to be under a microscope.

    22              MS. JULIANO:    I understand.

    23              THE COURT:    And how do you both know Mr. Maragni?

    24              MS. VITAGLIANO:     Friends of the family.

    25              THE COURT:    And what do you both do for a living?
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     1              MR. VITAGLIANO:     I’m retired.    I had a restaurant

     2   for 17 years.

     3              THE COURT:    And when did you get to retire?

     4              MR. VITAGLIANO:     I had medical problems.

     5              THE COURT:    Oh, I’m sorry to hear that.

     6              MR. VITAGLIANO:     Problems [inaudible].

     7              THE COURT:    I was going to say it’s the American

     8   dream but not if it’s for medical reasons.         And do you work

     9   outside the home, ma’am?

    10              MS. VITAGLIANO:     No, I don’t.    I’m -- I’m sorry.

    11   I’m also on --

    12              THE COURT:    A disability.

    13              MS. VITAGLIANO:     Yeah.

    14              THE COURT:    But you own a home?

    15              MR. VITAGLIANO:     Yes.

    16              THE COURT:    And where’s the home?

    17              MR. VITAGLIANO:     Las Vegas.

    18              THE COURT:    And is it a single-family?

    19              MR. VITAGLIANO:     Single family.     Just her and I live

    20   in it.

    21              THE COURT:    And you flew in from Las Vegas?

    22              MR. VITAGLIANO:     No.    I come up here for medical

    23   reasons.   Medical purposes.

    24              THE COURT:    And the home in Las Vegas, what’s the

    25   equity in the home?
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     1              MR. VITAGLIANO:     About 350,000.

     2              THE COURT:    Even in this market.

     3              MR. FROCCARO:     That’s the value, Judge.

     4              MR. VITAGLIANO:     That’s the value.     That’s the

     5   value, yes.

     6              THE COURT:    And how much equity, meaning, how much

     7   do you owe on the house?

     8              MR. VITAGLIANO:     Oh, 122,000.

     9              THE COURT:    Is what you owe?

    10              MR. VITAGLIANO:     Yes.

    11              THE COURT:    So there’s about 220.

    12              MR. VITAGLIANO:     Yeah.

    13              THE COURT:    Okay.   And you understand that the

    14   paperwork for that home is going to be put in the county court

    15   in Las Vegas and if for any reason Mr. Maragni does not do

    16   what he’s supposed to do the Government will go after the home

    17   to satisfy this judgment?

    18              MR. VITAGLIANO:     Yes.

    19              THE COURT:    And especially for both of you because

    20   the other people are still gainfully employed so they can go

    21   after their -- but I -- pensions are a difficulty so they’re

    22   certainly going to come after your home.        Do you understand

    23   that?

    24              MR. VITAGLIANO:     Yes.

    25              THE COURT:    Now, I’ve told you all of this not to
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     1   dissuade you from signing the bond but to make sure that if

     2   you do sign the bond that you’re doing it with your eyes open

     3   and that you understand if for any reason he does not come

     4   back to court when he’s directed to do so, he tries to flee or

     5   he violates the terms and conditions as set forth, all of you

     6   will be on the hook for the full amount of the bond to the

     7   United States Government.       Do you all still want to sign the

     8   bond?

     9              SURETERS:     Yes.

    10              THE COURT:     Okay.

    11              MS. GEDDES:    Your Honor, the Government would

    12   request as a standard on these bonds that one of the

    13   conditions that he be subject to -- that he not have any

    14   contact with other members of organized crime.

    15              THE COURT:    If I didn’t say that I will put that.

    16   Which means, again, Mr. Maragni, it’s not as if I know who all

    17   those people are but I believe you probably know who all those

    18   people are and that you should know that you’re under a

    19   microscope and that they are going to be monitoring both your

    20   phone, your girlfriend’s phone, any phone that’s brought in

    21   they’ll find out about it.        You’re going to be on an

    22   electronic bracelet but I still think you’d rather be there

    23   than be in MDC.

    24              So I’m sorry, Felix, you handed it up.         Was there

    25   something else I needed to do or are we --
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                                                                                   23

     1               THE CLERK:   No.

     2               THE COURT:   The passport issue, when can it get

     3   here?

     4               MR. FROCCARO:    Judge, I spoke to his wife.       She’s

     5   supposed to be Federal Expressing it up to my office and I’ll

     6   make sure it gets surrendered.

     7               THE COURT:   So you’ll just make sure that it gets

     8   filed with Pretrial.     They’ll give a receipt for it.        You

     9   cannot apply for any other passport and I would like to be

    10   able to say by next Wednesday, because that’s our target date,

    11   that it will be surrendered.      You’re saying Fed Ex, so it

    12   should be here in another day.

    13               MR. FROCCARO:    Actually, Judge, I have no problem,

    14   Judge.

    15               THE COURT:   What’s the date on Tuesday, Felix?

    16               THE CLERK:   Tuesday, the 8th.

    17               THE COURT:   So I’m going to put in by the 8th.          So

    18   everybody understands that was a condition even though I

    19   didn’t state it on the record $2500 bond.         He’s going to

    20   reside at his girlfriend’s house.       He’s going to be on

    21   electronic monitoring.      He’s under the express supervision of

    22   Pretrial.   He has to report as directed.       You’re only out for

    23   medical emergencies, preapproved appointments with either

    24   medical care providers, your attorney and the Court, and your

    25   attorney has to be notified.      If you have any medical
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     1   appointment they have to make Pretrial is going to have to be

     2   told where you’re going, when you’re getting there, all of

     3   that.   The apartment -- I’m sorry, the premises that are being

     4   put up, when are we getting the confessions filed by?

     5              MR. FROCCARO:     Judge, I’d like just a little time

     6   because I’m going to have this -- you know, counsel from --

     7              THE COURT:    And I understand that, but I also

     8   want --

     9              MR. FROCCARO:     I’m sure we can have it done by

    10   Wednesday if I can get in touch with somebody on Monday.

    11              THE COURT:    So I’m going to put in by the 8th -- by

    12   the 9th.

    13              MR. FROCCARO:     If I need more time, I’ll --

    14              THE COURT:    You’ll ask.    Okay.

    15              MS. IRSO:    [Inaudible]

    16              THE COURT:    Okay.   So I’m going to say -- I actually

    17   have it here that the confessions of judgment shall be duly

    18   filed before release so I think that covers us and I don’t

    19   need to put the date.

    20              MR. FROCCARO:     Fine.

    21              THE COURT:    Okay.   So I’m going to pass this forward

    22   and ask all the sureters to sign.       I’m also going to ask you

    23   to sign, Mr. Maragni.

    24              MR. FROCCARO:     Two -- there’s four -- two in Florida

    25   and three kids so total is six and three is nine, right?
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     1                THE COURT:   Your son that’s in California is he

     2   closer to Los Angeles or --

     3                MS. VITAGLIANO:    My glasses, so I can’t see.

     4                THE DEFENDANT:    I believe he lives in North

     5   Hollywood.

     6                THE COURT:   There is a central district of

     7   California that’s downtown LA.       He’ll be able to get there.

     8   It’s right in the center of town.

     9                Ms. Juliano, Ms. Irso, if you’ve signed you can be

    10   seated.   Thank you.

    11                MR. FROCCARO:    You want him to sign, right?

    12                THE COURT:   Mr. Maragni, I’m required by law to give

    13   you the following bail warnings, sir.        If for any reason you

    14   don’t come back to court when you’re directed to do so the

    15   agents will be dispatched.      They’ll find you.     You’ll be

    16   placed under arrest.      You’ll be brought back to court and the

    17   likelihood is you will not be released again pending your

    18   trial on these charges.

    19                In addition, there’s a separate federal crime called

    20   bail jumping.    If you don’t come back to court they have to

    21   find you.    You can be prosecuted for bail jumping which is

    22   punishable by up to ten years in jail.        It’s a separate

    23   federal crime.    You can be convicted of bail jumping even if

    24   you’re never convicted of the underlying crimes which you

    25   stand accused today.      Last, if you commit any other crime
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     1   while you’re out on bail they can enhance the penalty for the

     2   crime you commit.     If you commit a felony in New York while

     3   out on bail they can add ten years onto the sentence for

     4   whatever the crime is that you commit.        Do you understand

     5   those warnings?

     6              THE DEFENDANT:     Yes, I do.

     7              THE COURT:    Will you abide by the conditions set

     8   forth in the bond?

     9              THE DEFENDANT:     Yes, I will, Your Honor.

    10              THE COURT:    And will you come back to court whenever

    11   you’re directed to do so?      Then please sign.     We’re going to

    12   get the additional sureters to sign in the distant locations.

    13   We’ll -- Mr. Froccaro, are you going up before Judge Townes?

    14              MR. FROCCARO:     Yes.

    15              THE COURT:    So you’ll also speak to Judge Townes

    16   about when she wants to see --

    17              MR. FROCCARO:     Yes, Your Honor.

    18              THE COURT:    But at least now something is in

    19   writing.   I’m ordering that you be released on these

    20   conditions as set forth in the bond.        I’ve seen the four

    21   sureters that appeared in court today.        I’ve set the terms and

    22   conditions for the other sureters and this is all subject to

    23   the appeal by the Government to Judge Townes.         And with that,

    24   anything further on behalf of the Government?

    25              MS. GEDDES:    No, Judge, thank you.
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     1              THE COURT:    Mr. Froccaro?

     2              MR. FROCCARO:     No, Judge.

     3              THE COURT:    This matter is adjourned.

     4              MR. FROCCARO:     Thank you.

     5              (Proceedings concluded at 1:26 p.m.)

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Case 1:11-cr-00030-KAM-RER Document 223 Filed 02/07/11 Page 28 of 28 PageID #: 625



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     1              I certify that the foregoing is a court transcript

     2   from an electronic sound recording of the proceedings in the

     3   above-entitled matter.

     4

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     6

     7                                            Ruth Ann Hager

     8   Dated:   February 4, 2011

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